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Exhibit B
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ommitles Agenda
if Agenda Itam No.5

—,, County of Santa Clara

Office of the County Executive
Office of Affordable Housing

FGOC-CEO! 081308

Prepared by: Marjorie Matthews
Director, Office of Affordable Housing

Reviewed by: Emily Harrison
Deputy County Executive

DATE: August 13, 2008

TO: Supervisor Pete McHugh, Chairperson
Supervisor Liz Kniss, Vice-Chairperson

Finance & Government Operations Committee

FROM: Ak IA.

Peter Kutras Jr.
County Executive

SUBJECT: Response to Referral on Inventory Proposal Number 3 Re: Request for $125,000
for the Housing Trust of Santa Clara County and discussion regarding the Office
of Affordable Housing and proposed priorities for the Affordable Housing Fund.

RECOMMENDED ACTION

Accept this report and forward to the full Board of Supervisors the following for discussion
and possible approval: 1} an overview of the Office of Affordable Housing and the Affordable
Housing Fund; 2) proposed prioritization of the Affordable Housing Fund activilies and
funding; and 3) allocation of $125,000 to the Housing Trust Fund from the Affordable
Housing Fund, .

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Commillee Agenda Baie: Augusl 13, 2008 }

Agenda llem No.5
—, Affordable Housing Fund Revenues iy

The AHF was established in 2002 in anticipation of housing set-aside funds from the
redevelopment agreement with the City of San Jose. In 2003, $12,800,000 in set-aside funds
was transferred to the AHF. In 2005, a transfer of $4,169,362 was made, bringing the total
set-aside contribution to $16,969,362. Also in 2005, the County sold property at Monroe and
San Tomas Expressway to the City of Santa Clara, and $5,395,312 was transferred into the
AHF.

In 2004, the Board approved Board Policy 7.8 directing that 30% of the proceeds from the
sale, lease, or development of General Fund surplus property be allocated to support
affordable housing projects. It established an on-going source of revenue to continue
supporting affordable housing for the County’s lowest income populations. Since that policy
was adopted, proceeds from the lease of surplus property near the Elmwood Correctional
Facility have resulted in revenue to the AHF in the amount of $191,163. The annual on-going
revenue is projected to be $240,300. In addition to the revenue described above, other
revenues have included interest earnings of $2,027,154 and administrative fees from executed
loans and grants of $47,970,

’ Tn June 2008, the Board eliminated Board Policy 7.8 and approved an annual allocation of $t
million from the General Fund to the Affordable Housing Fund for housing projects. This
will be tn addition to the annual $240,300 from the surplus property leases.

Attachment A summarizes the AHF Financial Status and Projections.
Affordable Housing Fund Expenditures

New Housing Units

Since 2003, the Affordable Housing Fund has assisted in the acquisition or development of 21
different housing projects which have or will result in 1,658 new housing units and 51
permanent shelter beds, The housing units will afl be restricted to extremely low income
tenants making less than 30% of the area median income, which today is $31,850 for a family
of four. Assistance to shelter facilitics has been in the form of grants. Assistance to housing
developments has been in the form of low interest loans with payments deferred for 55 years
with assisted units restricted to the target populations for 55 years. This financing structure
has proven successful in assuring both project feasibility and the long term dedication of
housing for extremely low income tenants. The Office of Affordable Housing has often

Board of Supervisors: Donald F. Gage, Blanca Alvarado, Pele McHugh, Xen Yeager, Liz Kniss 3
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Agenda Item No.5
__-, defraying costs of the County's housing programs to the General Fund.

} '
Funding Priorities of the Affordable Housing Fund

The Administration recommends that future expenditures from the Affordable Housing Fund
be prioritized to support the creation of affordable housing units for the County’s special
populations: the mentally ill, the homeless, persons with disabilities, emancipating foster
youth, survivors of domestic violence, and extremely low and no income residents. The
annual $1 million approved by the Board during the June bud gct deliberations would be
restricted to financial assistance for new housing units for these populations, specifically for
acquisition, development, long term leases, or capitalized operating costs. An annual
$300,000 would continue to offset General Fund costs of the administration of the County's
housing programs. The remaining fund balance of the AHF would be reserved to support the
Homeless Transit Pass and Cold Weather Shelter Programs as well as other programs or
projects that may arise to further the implementation of Destination: Home and reach the
County's goal of ending homelessness.

Request for $125,000 for the Housing Trust of Santa Clara County

Since FY1999, the County has contributed $3,750,000 to the Housimg Trust of Santa Clara.
All payments have been dispersed from the Gencral Fund and are summarized below:

FY1999 $2,000,000

FY2000 250,000
FY2001 250,000

FY¥2005 500,000

FY 2006 250,000

FY 2007 250,000

FY2008 250,000
Total $ 3,750,000

The Housing Trust of Santa Clara County has offered loans and grants to create affordable
housing since 2001. Funds are raised from both the private and public sectors, with
$3,750,000 from the County, the largest contributor to date. Such contributions have

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AFFORDABLE HOUSING FUND PROJECTS

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Round 1 Allocatlons - September, 2003

Contract No. AGENCY NAME PROJECT NAME No. of Units TOTAL COUNTY
COST FUNDS
— F-03-001 | Howsing Authority of Santa Clara Opportunity Center of the a9 $19,727,363 $1,000,600
/ " County (A) Midpeninsula
| AHF-03-002 | Emergency Hous{ng Consortium (8) Our House Shelter and 27 $9,943,268 $1,000,000
Transitional Housing for
Runaway Youth
AHF-03-003 | Emergency Housing Consortium (A} Sobrato Transitional Center 140 $6,388,644 £1,480, 000
AHF-03-004 —_| South County Housing (A) Sobrato Apartments 60 $15,167,666 $1,700,000
AHF-03-0065 | Charities Housing Development (A) Mountain View Efficeincy Studio 118 219,209,362 $1,500,000
Apartments
AHF-03-007 | Community Working Group (A) Opportunity Center of the Sce Below! | Sec Below $1,000,000
- Midpeninsula
TOTAL 434 $70,436,303 $7,680,000
November, 2003
Contract No. AGENCY NAME PROJECT NAME No, of Units TOTAL COUNTY
COST FUNDS
AHF-03-008 Housing Trust of Santa Clara County | First Time Homebuyer Program $500,000 $500,000
(A)
TOTAL $500,000 $500,000
Round 2 Allocations — June, 2004
Contract No. AGENCY NAME PROJECT NAME No, of Units TOTAL COUNTY
COST FUNDS
AHF-04-001 Charities Housing Development (B) Senter Road Family Housing- Li? $36,992,468 $350,000
(C-S/07) Phase |
AHF-04-002 | VMC Foundation (A) House on the Hill 42 $2,833,433 $155,000
AHF-04-003 | Emergency Housing Consortium fA} Sobrate Transitional Center Sce Below? See Belaw $520,000
AHF-04-004 | Core Development (A) Delmas Park Apartments 123 $36,646,495 | $260,000
AHF-04-005 Core Development San Jose Artist Ark Housing 148 $30,576,736 | $440,000
AHF-04-008 Unity Care Group _ Transitional Housing for Youth 6 $1,000,000 §250,000
AHF-04-009 | Housing for Independent Peopte (A) Buming Tree 5 $465,000 $75,000
AHF-04-017 Mid-Peninsula Housing Coalition New Central Park 100 $19,175,780 $350,600
4 (C - 12/07)
jOTAL 541 $127,699,912 $2,400,000
, Round 3 Allocations - September, 2005
Contract No. AGENCY NAME PROJECT NAME No. of Uniis TOTAL COUNTY
: COST FUNDS
AHF-05-001 Bridge Housing Corporation Fabian Way Senior Apts. 66 $22,780,361 $1,500,000
(C - 6/03)
AHF-05-002 | Housing Authority of SCC Fairgrounds Senior Housing 198 $36,116,360 $1,475,000
(C - 4/09)
AHF-05-003 | Senior Housing Solutions Milpitas Senior Group 5 $921,225 £250,000
AHF-05-005 Charities Housing Development Paseo Senter I 101 $35,681,471 $300,000
(C - 1/08) :
AHF-05-006 | South County Housing Royal Court Apts. 55 417,682,386 $475,000
{Permanent Financing-9/07}
TOTAL 425 3312,681,803 $4,000,000
Round 4 Allocations — Housing Pius February, 2007
HPF-07-0] First Community Housing (D) Fourth Street Apariments (100) $43,252, (08 ($606,000)
HPF-07-02 First Community Housing Cunner Gardens 184 $17,717,607 $1,350,000
HPF-07-03 Charities Housing Development-A Paseo Senter I] Sce Below’ | See Below $250,000
HPF-07-04 Charjties Housing Development Paseo Senter J See Below’ | Sec Below $250,000
HPF-08-01 Charilies Housing Development Kings Crossing 54 343,952,000 $300,000
TOTAL 274 $61,669,607 $2,150,000
March, 2003
AHF-08-01 | Family Supportive Housing Family Shetler 35 | $16,600,000 $1,000,000
GRAND TOTALS 1,709 | $389,587,625 | $17,730,000

A. Contracis Executed
B. Contracts in process
C. Permanent Financing
D. Cancelled Project

Project awarded funds through Housing Authority of SCC and Community Working Group.

=roject funded in Round One.

Project funded in Round Three
“ Project funded in Round Two

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